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                   EXHIBIT 1
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   _______________________________
   LIL’ JOE RECORDS, INC.,             )
                                       )
               Plaintiff,              )
                                       )
         v.                            )    CASE NO. 1:21-CV-23727-DPG
                                       )
   MARK ROSS; et al.,                  )
                                       )
               Defendants.             )
   _______________________________)

    DECLARATION OF RODERICK WONG WON IN OPPOSITION TO MOTION FOR
                     PARTIAL SUMMARY JUDGMENT
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                          DECLARATION OF RODERICK WONG WON
           I, Roderick Wong Won, depose, attest, and say from my personal knowledge, the
   following:
           1.      I, Roderick Wong Won., am a party to this litigation.

           2.      I am the heir and son of Christopher Wong Won one of the original members of
                   the music group 2 Live Crew.

           3.      As Christopher Wong Won’s heir I have the ability to terminate the original grant
                   of copyright by my father pursuant to 17 U.S.C. Section 203.

           4.      Christopher Wong Won, Jr. Anissa Wong Won, Leterius Rey, and myself are the
                   only heirs to Christopher Wong Won and administer his estate. No other person is
                   an heir who would have inherited the Section 203 right from Christopher Wong
                   Won.
           5.      My father Christopher Wong Won received royalty payments from BMI in
                   connection with the albums at issue in this matter.
           6.      A review of the estate records reflects that my father Christopher Wong Won was
                   never an employee of the record labels and did not create the albums at issue as a
                   work-for-hire.
           7.      The 1987 Agreement reflected the agreement between my father and the record
                   label Skyywalker Records, Inc. and he operated and delivered pursuant to this
                   agreement.
           I declare under perjury under the laws of the United States of America that the foregoing
   is true and correct.
           Executed on October 7, 2022 at _________________, ________________.


                                         By: _______________________________




                                                    2
